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  7

  8   Attorneys for R.O.I. Properties, LLC, Liquidating Trustee

  9                      IN THE UNITED STATES BANKRUPTCY COURT
 10
                                   FOR THE DISTRICT OF ARIZONA
 11
      In re:                                          Chapter 11 Proceedings
 12

 13   EPICENTER PARTNERS, L.L.C.               ☐      Case No. 2-16-bk-05493-MCW

 14   GRAY MEYER FANNIN, L.L.C.                ☐      Jointly Administered with:
 15
      SONORAN DESERT LAND INVESTORS,                  Case No. 2:16-bk-05494-MCW
 16   LLC                        ☒                    Case No. 2:16-bk-07659-MCW
                                                      Case No. 2:16-bk-07660-MCW
 17                                                   Case No. 2:16-bk-07661-MCW
      EAST OF EPICENTER, LLC                   ☒
 18
 19   GRAY PHOENIX DESERT RIDGE II, ☒
      LLC
 20
                            Debtors.
 21
      This Filing Applies to:
 22

 23   ☐        All Debtors
      ☒        Specified Debtors
 24

 25

 26

 27
      LIQUIDATING TRUSTEE’S NOTICE OF SUBMISSION OF WRITTEN REPORT
 28                  TO BENEFICARIES OF JULY TRUST

Case 2:16-bk-05493-MCW          Doc 1523 Filed 12/02/19 Entered 12/02/19 10:55:47   Desc
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  1          PLEASE TAKE NOTICE that R.O.I. Properties, LLC, by and through Beth Jo
  2   Zeitzer, the duly appointed Liquidating Trustee of the July Liquidating Trust (“Liquidating
  3   Trustee”), hereby gives notice that she has furnished a written report to the Beneficiaries of
  4   the July Liquidating Trust pursuant to Paragraph 10(c) of the July Liquidating Trust
  5   Agreement and has served a copy to the US Trustee’s office via e-mail to:
  6   Edward.k.bernatavicius@usdoj.gov and ustpregion14.px.ecf@usdoj.gov.
  7          Anyone who fails to object in writing to any such report or account within sixty (60)
  8   days after such report or account is first furnished to the Beneficiaries/US Trustee’s office
  9   shall be deemed to have assented thereto and approved the contents thereof.
 10          Upon the later of the expiration of the sixty (60) days, or resolution of any
 11   objections, the Liquidating Trustee shall refund excess amounts held and shall seek
 12   discharge as and exoneration of her bond.
 13          RESPECTFULLY SUBMITTED this 2nd day of December, 2019.
 14
                                                LANE & NACH, P.C.
 15

 16                                             By: /s/ Stuart B. Rodgers
                                                        Stuart B. Rodgers
 17                                                     Paul M. Hilkert
                                                         Attorneys for ROI PROPERTIES, LLC,
 18
                                                         Liquidating Trustee of the July
 19                                                      Liquidating Trust

 20
      COPIES of the foregoing emailed this 2nd day of December, 2019 to the following parties:
 21

 22   Michael J. Phalen                           Daniel Dowd
      Lewis Roca Rothgerber Christie              Cohen Dowd Quigley
 23   Email: MPhalen@lrrc.com                     DDowd@cdqlaw.com
      Attorneys for High Street Building LLC      Attorneys for Barbara A Gray and Bruce W
 24                                               Gray

 25   Michael McGrath, Frederick J. Petersen,     Steven N. Berger, Patrick A. Clisham, Scott B.
      Jeffrey J. Coe, Isaac D. Rothschild,        Cohen
 26   David Hindman                               snb@eblawyers.com
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      fpetersen@mcrazlaw.com,                     Former Attorneys for Official Committee of
 28   jcoe@mcrazlaw.com                           Unsecured Creditor and Administrative
      Prior Attorneys for Prior Debtors           Creditor

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  1   Dean C. Waldt                          Edward K. Bernatavicius
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  8   dmaguire@gamlaw.com                    Attorneys for Abrams Capital Management,
      Attorneys for Constantino Flores,      L.P., Abrams Capital Management, LLC,
  9   Chapter 7 Trustee for the bankruptcy   Abrams Capital Partners I, L.P., Abrams
      estate of GDG Partners, LL             Capital Partners II, L.P., and Abrams Capital,
 10                                          LLC
 11   Michael W. Zimmerman                   J. Matthew Derstine and Rebekah L.W. Elliott
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 14                                          Inc.
 15   Joseph M. Vanleuven                    Neal H. Bookspan
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      Attorneys for Stuart S Bingham         Attorneys for Stuart S Bingham
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 18   Vincent P. Slusher                     William Quinlan
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 26   Alisa C. Lacey                         kyle.hirsch@bclplaw.com
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  5                                 CERTIFICATE OF SERVICE

  6          I hereby certify that a copy of the foregoing was mailed by first class mail, postage
  7
      prepaid to all creditors and parties-in-interest appearing on the master mailing lists for the
  8
      estates of Sonoran Desert Land Investors, LLC, East of Epicenter, LLC and Gray Phoenix
  9

 10
      Desert Ridge II, LLC on December 2, 2019.

 11

 12

 13   By: /s/ S. Rochin

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